

People v Hernandez (2025 NY Slip Op 02085)





People v Hernandez


2025 NY Slip Op 02085


Decided on April 9, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 9, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

BETSY BARROS, J.P.
ROBERT J. MILLER
LINDA CHRISTOPHER
BARRY E. WARHIT
DONNA-MARIE E. GOLIA, JJ.


2024-06242
 (Ind. No. 72594/22)

[*1]The People of the State of New York, respondent,
vCarlos A. Hernandez, appellant.


Karen G. Leslie, Riverhead, NY, for appellant.
Raymond A. Tierney, District Attorney, Riverhead, NY (Rosalind C. Gray of counsel), for respondent.



DECISION &amp; ORDER
Appeal by the defendant, as limited by his motion, from a sentence of the County Court, Suffolk County (Karen M. Wilutis, J.), imposed February 14, 2024, upon his plea of guilty, on the ground that the sentence was excessive.
ORDERED that the sentence is affirmed.
Contrary to the defendant's contention, the record demonstrates that he knowingly, voluntarily, and intelligently waived his right to appeal (see People v Lopez, 6 NY3d 248, 257; People v Esson, 225 AD3d 786, 787). The defendant's valid waiver of his right to appeal precludes appellate review of his excessive sentence claim (see People v Lopez, 6 NY3d at 256; People v Jackson, 213 AD3d 697, 697).
BARROS, J.P., MILLER, CHRISTOPHER, WARHIT and GOLIA, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








